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8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   SECURITIES AND EXCHANGE                              Case No. 22-cv-00274-MMA (KSC)
     COMMISSION,
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                                       Plaintiff,         ORDER SETTING BRIEFING
13                                                        SCHEDULE ON MOTION TO STAY
     v.
14
     ANDREW T.E. COLDICUTT,
15
                                     Defendant.
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18         On December 1, 2022, Defendant Andrew T.E. Coldicutt (“Defendant”) filed a
19   motion to stay all proceedings in this case. See Doc. No. 28. The Court SETS the
20   following briefing schedule on Defendant’s motion to stay:
21         1. Plaintiff Securities and Exchange Commission must file a response to the
22            motion to stay on or before January 9, 2023.
23         2. Defendant may then file his reply, if any, on or before January 16, 2023.
24         In his moving papers, Defendant requested oral argument on his motion to stay.
25   See Doc. No. 28. The Court typically does not entertain oral argument on civil motions.
26   See Civil Chambers Rule III; see also S.D. Cal. CivLR 7.1.d.1. Accordingly, Defendant
27   must file a separate statement explaining why oral argument would be helpful to the
28   Court on or before December 12, 2022. Upon review of Defendant’s statement and the


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1    briefing on the motion to stay, the Court will issue a minute order either taking the
2    motion to stay under submission on the papers and without oral argument or setting the
3    motion for hearing. If Defendant chooses not to file a statement, the Court will deem
4    Defendant’s request for oral argument withdrawn.
5          IT IS SO ORDERED.
6    Dated: December 1, 2022
7                                                  _____________________________
8                                                  HON. MICHAEL M. ANELLO
9                                                  United States District Judge

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